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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              *
                                                      *
                      vs.                             *        Case No. 1:21-mj-00067 (GMH)
                                                      *
KASH KELLY,                                           *
         Defendant                                    *
                                                      *

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                             CONSENT MOTION TO CONTINUE
                         PRELIMINARY HEARING FOR THIRTY DAYS

       Defendant, Kash Kelly, by his undersigned counsel hereby respectfully moves this Honorable

Court to continue the Preliminary Hearing scheduled for April 23, 2021 for 30 days to allow

continued discussion by the parties to seek to resolve the case short of trial. AUSA Emory Cole

consents to this request.

       1.         Mr. Kelly is charged by Criminal Complaint with two misdemeanor offenses arising

out of his alleged conduct at the United States Capitol on January 6, 2021. See Complaint, (ECF 1,

filed 1/15/21).

       2.         A Preliminary Hearing in this matter is scheduled for March 23, 2021.

       3.         The parties are engaged in active talks to resolve the case without a trial but require

additional time to complete those discussions.

       4.         A non-trial resolution of the case and tolling of the Speedy Trial is in the best interests

of Mr. Kelly and of the public and furthers the interests of justice.

       5.         Mr. Kelly is presently serving a federal sentence in an unrelated case so that his

continued detention will not prejudice him as he will receive credit for the time he is serving.

       6.         Counsel has spoken to Mr. Kelly, who consents to the continuance.
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       WHEREFORE, Mr. Kelly respectfully requests that the Court continue the Preliminary

Hearing scheduled for March 23, 2021 for thirty days to and including May 21, 2021.


                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez
                                                    Bar No. MD 03366
                                                    7166 Mink Hollow Rd
                                                    Highland, MD 20777
                                                    240-472-3391
                                                    chernan7@aol.com

                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Consent Motion to Continue the Preliminary Hearing was
served this 22nd day of April, 2021 on all counsel of record via ECF.



                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez




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